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IN THE UNITED STATES DISTRICT COURT. +31 19: bg
FOR THE DISTRICT OF PUERTO Ritts? 18) Riles s

UNITED STATES OF AMERICA,

Plaintiff CRIMINAL NO. 13-888 (ADC) _

 

[4] CARLOS L. CARRERO-RAMOS, aka
“CARLITOS” and “CARLOS EL
GORDO,”

Defendant.

 

 

PLEA AGREEMENT
TO THE HONORABLE COURT:
The United States of America, by and through its attorneys, Rosa Emilia Rodriguez Vélez,
United States Attorney for the District of Puerto Rico, José A. Ruiz, Assistant U.S. Attorney,
Chief, Criminal Division, Jenifer Y. Hernandez Vega, Assistant U.S. Attorney, Deputy Chief,
} (wv Narcotics Division, and Dennise N. Longo Quifiones, Assistant U.S. Attorney, Narcotics Division,
AL CR the defendant, Carlos L. Carrero-Ramos and the defendant's counsel, Lara H. Castro-Ward, Esq.,
and state that they have reached an agreement pursuant to Rule 11(c)(1)(A) and (B) of the Federal
Rules of Criminal Procedure, the terms and conditions of which are as follows:
OFFENSE TO WHICH DEFENDANT PLEADS GUILTY
1. Carlos L. Carrero-Ramos agrees to plead guilty to Count One of the Indictment
which charges as follows:
[bJeginning on a date unknown, but no later than in or about the year 2010, and

continuing up to and until the return of the instant Indictment, in the Municipality
of Afiasco, District of Puerto Rico and within the jurisdiction of this Court,

 
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[4] CARLOS L. CARRERO-RAMOS, aka “CARLITOS” and
“CARLOS EL GORDO,”

 

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the defendants herein, did knowingly and intentionally, combine, conspire, and
agree with each other and with diverse other persons known and unknown to the
Grand Jury, to commit an offense against the United States, that is, to knowingly
and intentionally possess with intent to distribute and/or to distribute controlled
substances, to wit: in excess of two hundred and eighty (280) grams of cocaine base
(crack), a Schedule II Narcotic Drug Controlled Substance; in excess of one (1)
kilogram of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of
five (5) kilograms of cocaine, a Schedule II, Narcotic Drug Controlled Substance;
and in excess of one hundred (100) kilograms of marijuana, a Schedule I,
Controlled Substance; within one thousand (1,000) feet of the real property
comprising a housing facility owned by a public housing authority. All in violation
of Title 21, United States Code, Sections 841(a)(1), 846 and 860.

 
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MAXIMUM PENALTIES
2. The defendant understands that in relation to Count One as charged the penalties
---for-the-violation-of Title21, United States-Code, Section-841(a)(1)-are-a-term of imprisonment
which may not be less than 10 years or more than life, a fine not to exceed 10 million dollars and a
term of supervised release of at least 5 years, with maximum penalties that would be twice that of
Section 841(b), equivalent to life imprisonment and fine up to 20 million dollars, and supervised
release terms that would be at least twice those provided in Section 841 (b) pursuant to the violation
of Title 21, United States Code, Section 860, equivalent to 10 years of supervised release.
APPLICABILITY OF SENTENCING GUIDELINES
y ( u 1. The defendant understands that the sentence will be left entirely to the sound
| CR discretion of the Court in accordance with the advisory Sentencing Guidelines, Title 18,
United States Code, Section 3551, et. seq. (hereinafter the “Guidelines”). It is further-understood
that the defendant may not withdraw defendant’s plea solely as a result of the sentence imposed
and the Court is not bound by this plea agreement. The defendant acknowledges and understands
that parole has been abolished. '
SPECIAL MONETARY ASSESSMENT

2. Prior to or at the time of sentencing, the defendant shall pay a special assessment of

one-hundred dollars ($100.00), per count, as required by Title 18, United States Code, Section

3013 (a).
FINES AND RESTITUTION
3. The defendant is aware that the Court may, pursuant to Section 5E1.2(i) of the

Sentencing Guidelines, Policy Statements, Application, and Background Notes, order the

 

 

 

 

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defendant to pay a fine sufficient to reimburse the government for the costs of any imprisonment,

 

probation or supervised release. The defendant is aware that in some instances, the Court may
impose restitution to. the victim. As part-of-this plea agreement, and should the Court impose
restitution upon the defendant, the defendant agrees to produce complete information regarding all

restitution victims and defendant agrees to execute a financial statement to the United States (OBD

Form 500).
: ‘SENTENCIN G GUIDELINES CALCULATIONS

4. Although the Guidelines are now advisory in nature, the sentencing court, in
imposing sentence, is required to consider the Guidelines “sentencing range established for the
applicable category of the offense committed by the defendant”. United States v. Booker,

125 S.Ct. 738 (2005). Therefore, the United States and the defendant submit the following

Advisory Sentencing Guideline calculations:

 

~ SENTENCING GUIDELINES CALCULATION TABLE =

 

Based on the amount of controlled substance stipulated by the parties, that 32
is at least 5 KG but less than 15 KG of cocaine, the Base Offense Level shall
be 32, pursuant to the Drug Quantity Table in U.S.S.G. § 2D1.1.

 

 

 

Since the offense occurred in a protected location the base offense level +2
shall be increased by two (2) levels, pursuant to U.S.S.G. § 2D1.2(a)(1).
Enhancement for role as leader by four (4) levels, pursuant to U.S.S.G. § +4
3B1.1(a)

Should defendant clearly demonstrate acceptance of responsibility for the -3

offense, defendant’s base offense level shall be further reduced by three (3)

 

 

 

levels, pursuant to U.S.S.G. § 3E1.1.

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TOTAL OFFENSE LEVEL 35
Imprisonment range:
Assuming a Criminal History Category of I 168-210
Assuming a Criminal-History-Category-of Il-- -— 188-235
Assuming a Criminal History Category of III 210-262
The parties make no stipulation as to defendant’s Criminal History Category.

 

 

 

_ RULE 11(e)0)(B) WARNINGS

5. Defendant understands that, pursuant to Rule 11(e)(1)(B) of the Federal Rules of
Criminal Procedure, the Court is not bound by these sentencing guidelines calculations, that is, the
Court may impose a harsher or lesser sentence in spite of the recommendations set forth herein.
Also, the defendant understands that defendant may not withdraw defendant’s plea solely as a
result of the final sentencing guidelines calculations made by the Court.

SENTENCE RECOMMENDATION

6. If the Defendant is a CHC I or II, the Defendant may argue for a sentence of
imprisonment of no less than 151 months and the United States may argue for a sentence of
imprisonment up to 227 months. If the Defendant is a CHC of III or above, the parties will
recommend a sentence within the applicable guideline range at an adjusted offense level of 35. The
parties agree that the imposition of a sentence within the parameters of the recommendations to be
argued by the parties pursuant to this agreement is reasonable pursuant to Title 18, United States
Code, Section 3553 (a).

NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY

7. The parties make no stipulation as to defendant’s Criminal History Category.

 
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NO FURTHER ADJUSTMENTS OR DEPARTURES

 

8. The United-States-andthe defendant agree that no further-adjustments-or departures —_+——
to the defendant’s base offense level shall be sought by the parties. The parties agree that any

request by the defendant for an adjustment, departure, or a lower sentence will be considered a

 

material breach of this Plea Agreement and the United States will be able to request the withdrawal

of the Plea Agreement.

9. The defendant, represents to the Court that defendant is satisfied with defendant’s
attorney, Lara H. Castro-Ward, Esq., and hereby indicates that counsel has rendered effective legal
ow assistance.
C. a RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

10. | Defendant understands that by entering into this agreement, defendant surrenders
certain rights as provided in this agreement. Defendant understands that the rights of criminal

defendants include the following: |
a. If the defendant had persisted in a plea of not guilty to the charges,
defendant would have had the right to a speedy jury trial with the assistance of counsel. The trial
may be conducted by a judge sitting without a jury if the defendant, the United States and the judge

agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. The defendant and the defendant’s attorney would assist in selecting
the jurors by removing prospective jurors for cause where actual bias or other disqualification is

shown, or by removing prospective jurors without cause by exercising peremptory challenges.

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The jury would have to agree, unanimously, before it could return a verdict of either guilty or not
guilty.—_The jury-would-be-instructed-thatthe-defendant-is-presumed-innocent, that-it-could-not
convict the defendant unless, after hearing all the evidence, it was persuaded of the defendant’s

guilt beyond a reasonable doubt, and that it was to consider each charge separately.

 

C. If a trial is held by the judge without a jury, the judge would find the facts

and, after hearing all the evidence and considering each count separately, determine whether or not

 

 

 

d. At a trial, the United States would be required to present its witnesses and
other evidence against the defendant. The defendant would be able to confront those witnesses
and defendant’s attorney would be able to cross-examine them. In turn, the defendant could
present witnesses and other evidence on defendant’s own behalf. If the witnesses for the
defendant would not appear voluntarily, defendant could require their attendance through the
subpoena power of the Court.

€. At a trial, the defendant could rely on the privilege against
self-incrimination to decline to testify, and no inference of guilty could be drawn from defendant’s
refusal to testify. Ifthe defendant desired to do so, the defendant could testify on defendant’s own
behalf.

UNITED STATES RESERVATION OF RIGHTS

11. | The United States reserves the right to carry out its responsibilities under the
sentencing guidelines. Specifically, the United States reserves the right: (a) to bring its version of
the facts of this case including its file and any investigative files to the attention of the probation

office in connection with that office's preparation of a presentence report; (b) to dispute sentencing

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factors or facts material to sentencing; (c) to seek resolution of such factors or facts in conference

 

with opposing counsel-and-the probation office.
STIPULATED VERSION OF FACTS

12. The accompanying Stipulated Version of Facts signed by the defendant is hereby

 

incorporated into this plea agreement. Defendant adopts the Version of Facts and agrees that the

facts therein are accurate in every respect and that, had the matter proceeded to trial, the United

 

JURISDICTIONAL LIMITS OF PLEA AGREEMENT
13. _— It is specifically understood by the defendant, that this plea agreement does not
WW extend to or bind other federal districts, federal civil and/or tax authorities, and/or State or
C . CR Commonwealth of Puerto Rico tax authorities, civil and/or State or Commonwealth of Puerto Rico
law enforcement authorities.
WAIVER OF APPEAL
14. The defendant knowingly and voluntarily waives the right to appeal the judgment
and sentence in this case, provided that the defendant is sentenced in accordance with the terms
and conditions set forth in the Sentence Recommendation provisions of this Plea Agreement.
DISMISSAL OF REMAINING COUNTS
15. As part of this plea agreement, the United States, after sentencing, will request the
dismissal of the remaining counts of the Indictments pending against the defendant, pursuant to

Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure.

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ENTIRETY OF PLEA AGREEMENTS AND AMENDMENTS
16.—— The United-States-and-the defendant-acknowledge that the above-stated-terms_and.
conditions constitute the entire plea agreement between the parties and deny the existence of any

other terms and conditions not stated herein. No additional promises, terms or conditions will be

 

 

entered unless in writing and signed by all parties.

VOLUNTARINESS OF PLEA

17. It_is_-understood. by the—defendant,__that—defendant—_is entering into—_this
plea agreement without compulsion, threats, or any other promises from the United States
Attorney or any of his agents. The defendant acknowledges that no threats have been made against
the defendant and that the defendant is pleading guilty freely and voluntarily because the
defendant is, in fact, guilty.

BREACH AND WAIVER

18. | The defendant understands and agrees that if the defendant breaches the plea
agreement, the defendant may be prosecuted and sentenced for all of the offenses the defendant
may have committed. The defendant agrees that if the defendant breaches this plea agreement, the
Government reserves the right to take whatever steps are necessary to nullify the plea agreement,
including the filing of a motion to withdraw from the plea agreement and/or to set aside the
conviction and sentence. The defendant also agrees that if he is in breach of this plea agreement,
the defendant is deemed to have waived any objection to the reinstatement of any charges under
the indictment, information, or complaint which may have previously been dismissed or which

may have not been previously prosecuted.

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PLEA AGREEMENT PROTOCOL

19.——Fo-ensure-that_the-Court’s-resources-are-employed-in-an-efficient-and-produetive

 

manner, the parties agree on the following protocol regarding plea agreement preparation,

handling and submission, in compliance with Local Rule 111 of the Local Rules of the United

 

States District Court for the District of Puerto Rico.

a. The United States shall be responsible for drafting the proposed plea agreement and

 

 

In that respect, the United States shall furnish to defense counsel a pdf-format

version of these documents bearing the signatures of the prosecutor(s) handling the
» case and the approval signatures of his or her supervisors, at least five (5) days prior

U to the deadline set forth herein.

b. Counsel for Defendant shall be responsible for the timely filing of the fully signed
Plea Agreement with the Court as specified herein. In that respect, Counsel for
Defendant shall ensure that he or she and the Defendant sign the pdf-version of the
proposed Plea Agreement and Supplement provided by the United States. Counsel
shall then scan the documents into pdf-format and submit the Court
(i) the Plea Agreement as an attachment to defendant’s Motion for Change of Plea,
and (ii) the Plea Agreement Supplement as a “Selected Parties” filing in compliance

with the Standing Order Number 9.

 

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Failure to-file this fully signed_plea-agreement-_as-an-attachment_to_the change

of plea motion on or before Friday, September 5, 2014 AT 5:00 P.M. will

liberate the United States from any and all of its obligations, stipulations and

 

  

recommendations under this plea agreement.

RESPECTFULLY SUBMITTED.

ROSA EMILIA RODRIGUEZ VELEZ
United States Attorney

 

Assistant U.S. Attorney

Chief, ‘a4 pein
Dated: G l

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Jenifet Hernanlgz-Vegal
Assistapt U.S. Attorney
Deputy Chief, Narcotics, Division
Dated: © | | pol d

      

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Assistant U.S Attorney

Dated: 4 [[2ot4

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Lara H. Ca€tro-Ward, Esq.
Counsel for Defendant

Dated: Sephe fer 4 Cd ¢

 

Defendant

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I have consulted with my counsel and fully understand all my rights with respect to the

Indictment pending against me. Further, I have consulted with my attorney and fully understand

 

my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,
Application, and Background Notes which may apply in my case. I have read this Plea
Agreement and carefully reviewed every part of it with my attorney. My counset has translated the
plea agreement to me in the Spanish language and I have no doubts as to the contents of the

agreement. I fully understand this agreement and IJ voluntarily agree to it.

 

  

Date: Sepumber IR. 20t

I am the attorney for the defendant. I have fully explained to the defendant the

 

Carlos L.
Defendant

defendant’s rights with respect to the pending indictment. Further, I have reviewed the provisions
of the Sentencing Guidelines, Policy Statements, Application, and Background Notes, and J have
fully explained to the defendant the provisions of those guidelines which may apply in this case. I
have carefully reviewed every part this Plea Agreement with the defendant. I have translated the
plea agreement and explained it in the Spanish language to the defendant who has expressed
having no doubts as to the contents of the agreement. To my knowledge, the defendant is entering

into this agreement voluntarily, intelligently and with full knowledge of all the consequences of

defendant’s plea of guilty. ,
Date: epfeuBey td, 2oa/T ma aE

Lara H. Castro-Ward, Esq.
Counsel for Defendant

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STIPULATED VERSION OF THE FACTS
In conjunction with the submission of the accompanying Plea Agreement in this case, the
United States submits the following summary setting forth the version of the facts leading to

defendant’s acceptance of criminal responsibility for violating Title 21, United States Code, §§

 

____ 846, 841(a)(1), and 860

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Beginning on a date unknown, but no later than in or about the year 2010, and continuing
up to and until the December, 2013, CARLOS L. CARRERO-RAMOS did knowingly and
intentionally, combine, conspire, and agree with other defendants and with diverse other persons
known and unknown to the Grand Jury, to commit an offense against the United States, that is, to
knowingly and intentionally possess with intent to distribute and/or to distribute controlled
substances, to wit: in excess of two hundred and eighty (280) grams of cocaine base (crack), a
Schedule II Narcotic Drug Controlled Substance; in excess of one (1) kilogram of heroin, a
Schedule I, Narcotic Drug Controlled Substance; in excess of five (5) kilograms of cocaine, a
Schedule II, Narcotic Drug Controlled Substance; and in excess of one hundred (100) kilograms of
marijuana, a Schedule I, Controlled Substance; within one thousand (1,000) feet of the real
property comprising a housing facility owned by a public housing authority, that is the Francisco
Figueroa Public Housing Project in Afiasco, Puerto Rico. All in violation of Title 21, United States
Code, Sections 841(a)(1), 846 and 860.

The object of the conspiracy was to distribute controlled substances at the Francisco
Figueroa Public Housing Project in Afiasco, Puerto Rico (the “PHP”) on behalf of the drug
trafficking organization (the “DTO”) operating at the PHP, all for significant financial gain and
profit.

In furtherance of the conspiracy and to achieve its objects the defendant would participate
as a leader directly controlling and supervising the drug trafficking activities at the drug

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distribution points located at the PHR During the span of the conspiracy, the defendant

purchased multi-kilogram quantities of narcotics and oversaw the transportation and sale of such

_ narcotics by their subordinates at the PHP. /igiitgaiieiininsioior ieititgeaiiieeironmeates gid

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For the sole purpose of this Plea Agreement, it has been agreed upon that the defendant will

be held accountable for at least 5 KG but less than 15 KG of cocaine.

Had the government proceeded to trial, it would have presented the testimony of
cooperating witnesses, confidential sources, law enforcement officers and expert witnesses, as
well as submitted into evidence: video recordings, audio recordings, and photographs of drug
ledgers, paraphernalia, *yggugamaye and other items seized by law enforcement agents during the
investigation. |

Full discovery was timely provided to the defense.

   

 

Dennise
Date:

  

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Tara H. Castro- d, Esq.
Date: Sp pfe.40) (2, Q0/4

 

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